Case: 1:21-cv-06627 Document #: 2 Filed: 12/10/21 Page 1 of 3 PagelD #:1

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF
ILLINOIS

Teepu Siddique, Plaintiff

 

 

Case Number:

 

 

Northwestern University and
Northwestern Medical Facuity
Foundation (NMFF), AKA
Northwestern Medical Group (NMG)

 

)
)
)
)
)
)
)
)
)
)
)
)

Defendants

 

This is an action for employment discrimination.
‘The plaintiff is a resident of the county of Cook in the state of Illinois.

. The defendants are Northwestern University, whose street address is 633 Clark Street, Cook County,

 

Evanston, IL 60208 and NMFF, whose street address is 21 E. Ontario St. Suite 1800, Chicago, IL
60611.

The plaintiff was hired and is still employed by the defendants.

The defendants discriminated against the plaintiff on or about or beginning on or about November 1,

2013.

7.1 (Choose paragraph 7.1 or 7.2, do not complete both.)
{a) The defendants are not a federal governmental agency, and the plaintiff
has filed a charge or charges against the defendant asserting the acts of

discrimination indicated in this complaint with the United States Equal

 
10.

Il.

8,

Case: 1:21-cv-06627 Document #: 2 Filed: 12/10/21 Page 2 of 3 PagelD #:2

Employment Opportunity Commission, on or about August 23, 2019.
(b) Acopy of the charge is attached.
It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received.

The plaintiff has no reason to believe that this policy was not followed in this case.

The United States Equal Employment Opportunity Commission has issued a Notice
of Right to Sue, which was received by the plaintiffon September 11, 2021, a copy of
which Notice is attached to this complaint.
The defendant discriminated against the plaintiff because of the plaintiffs Age (Age
Discrimination Employment Act and Illinois Human Rights Act [“THRA”], 775 ILCS 5 §§
1-102, 2-102,
Jurisdiction over the statutory violation alleged is conferred through 29 U.S.C. § 626(c)
and 28 U.S.C. § 1367 (supplementary jurisdiction for his HRA claim).
The defendant interfered with the terms and conditions of the plaintiff's employment by
(a) Reducing and redirecting his research funding and resources.
(b) Removing him from his administrative position as head of the neuromuscular
medicine program and director of its ALS clinic.
(c) Removed him from the directorship of the diagnostic muscle and nerve biopsy
laboratory.

(d) Reducing his pay.

The facts supporting the plaintiff's claim of discrimination are as follows:

After describing the plaintiff as “out to pasture” in front of faculty, staff of the neurology dept, the

 

Dean of the medical school, and administrative head of NMHC and an external funding body, the

 
Case: 1:21-cv-06627 Document #: 2 Filed: 12/10/21 Page 3 of 3 PagelD #:3

plaintiff was removed from his administrative position as the head of the neuromuscular medicine
program, interfered with his access to funds intended for his research and systematically reduced his
responsibilities and access to his research materials, impeding his clinical work and laboratory
research. In taking these actions, the defendants varied from their standard policies and practices and

treated the plaintiff less favorably than similarly situated research faculty members.

9. Defendants knowingly, intentionally, and willfully discriminated against the plaintiff.
10. The plaintiff demands that the case be tried by a jury.

li. | THEREFORE, the plaintiff asks that the Court grant him back pay, punitive damages,
prejudgment interest, costs, expert witness fees and attorney fees; compensate him for
significant emotional distress; restore his full funding and access to his research
materials; and grant such other relief as the Court may find appropriate.

 

 

' y U LV
(Plaintiff's signature)

Teepu Siddique

1335 N. Astor St.
13B

Chicago, IL IL 60610

 

Date: December 10, 2021

 
